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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:
                                                             Chapter 11

           Bracha Cab Corp., et al,                          Case No. 17-46613-nhl
                                                             Jointly Administered

                                      Debtors.

               NOTICE OF DEADLINE REQUIRING FILING OF PROOFS OF
                             CLAIM ON OR BEFORE

TO ALL PERSONS AND ENTITIES WITH CLAIMS AGAINST BRACHA CAB CORP,
et al.

          The United States Bankruptcy Court for the Eastern District of New York has entered an

Order establishing (the “Bar date”) as the last date for each person or entity (including

individuals, partnerships, corporation, joint ventures, trust and governmental units to file a proof

of claim against Bracha Cab Corp., et al. (the “Debtors”).




          The Bar Date and the procedures set forth below for filing proofs of claim apply to all

claims against the Debtors that arose prior December 8, 2017 and December 11, 2017 (the

“Filing Dates”), the dates on which the Debtors commenced a case under Chapter 11 of 11

U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), except for those holders of the claims listed in

Section 4 below that are specifically excluded from the Bar Date filing requirement.
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WHO MUST FILE A PROOF OF CLAIM



       You MUST file a proof of claim to vote on a Chapter 11 plan filed by the Debtors or to

share in distributions from the Debtors’ bankruptcy estate if you have a claim that arose prior to

the Filing Dates, and it is not one of the types of claim described in Section 4 below. Claims

based on acts or omissions of the Debtors that occurred before the Filing Dates must be filed on

or prior to the Bar Date, even if such claims are not now fixed, liquidated or certain or did not

mature or become fixed, liquidated or certain before the Filing Dates.

       Under section 101(5) of the Bankruptcy Code and as used in this Notice, the word

“claim” means: (a) a right to payment, whether or not such right is reduced to judgment,

liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,

equitable, secured, or unsecured; or (b) a right to an equitable remedy for breach of performance

if such breach gives rise to a right to payment, whether or not such right to an equitable remedy

is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or

unsecured.

1.     WHAT TO FILE

       Your filed proof of claim must conform substantially to Official Form No. 410, a copy of

which is annexed to this Notice. Additional proof of claim forms may be obtained at

www.uscourts.gov/bkforms

       The proofs of claim form must be signed by the claimant or, if the claimant is not an

individual, by an authorized agent of the claimant. It must be written in English and be

denominated in United States currency. You must attach to our completed proof of claim any

documents on which the claim is based (if voluminous, attach a summary).
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          Any holder of a claim against more than one Debtor must file a separate proof of claim

with respect to each Debtor, and all holders of claims must identify on their proof of claim the

specific Debtor against which their claim is asserted and the case number of that Debtors’

bankruptcy case.

          Your proof of claim form shall not contain complete social security numbers or taxpayer

identifications numbers (only the minor’s initials) or a financial account number (only the last

four digits of such financial account).

2.        WHEN AND WHERE TO FILE

(A) Except as provided for herein, all proofs of claim must be filed so as to be received on or

before.

          Attorneys (with full access accounts) and employees of institutional creditors (with

limited access accounts) shall file proofs of claim electronically on the Court’s Case

Management/Electronic Case File (“CM/ECF”) system. Those without accounts to the

CM/ECF system shall file their proofs of claim by mailing or delivering the original proof of

claim to the Court at the address provided below:

          United States Bankruptcy Court
          Eastern District of New York
          Conrad B. Duberstein U.S. Bankruptcy Courthouse
          271 Cadman Plaza East, Suite 1595
          Brooklyn, New York 11201-1800

          A proof of claim will be deemed timely filed only when received by the Bankruptcy
          Court on or before the Bar Date. A proof of claim may not be delivered by facsimile,
          telecopy or electronic mail transmission.

          Governmental units may have until, the date is 180 days after the order for relief to file

proofs of claim.
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3.     WHO NEED NOT FILE A PROOF OF CLAIM

       You do not need to file a proof of claim on or before the Bar Date if you are:



       (a)     A person or entity that has already filed a proof of claim against the Debtors in

               this case with the Clerk of the Bankruptcy Court for the Eastern District of New

               York in a form substantially similar to Official Bankruptcy Form No. 410;

       (b)     A person or entity whose claim is listed on the Schedules of Assets and Liabilities

               filed by the Debtors (collectively, the “Schedules”) Docket Entry No. 1 if (i) the

               claim is not scheduled as “disputed,” “contingent,” or “unliquidated” and (ii) you

               agree with the amount, nature and priority of the claim as set forth in the

               Schedules [and (iii) you do not dispute that your claim is an obligation only of

               the specific Debtor against which the claim is listed in the Schedules];

       (c)     A holder of a claim that has already been allowed in this case by order of the

               Court;

       (d)     A holder of a claim for which a different deadline for filing a proof of claim in

               this case has already been fixed by this Court; or

       (e)     A holder of a claim allowable under sections 503(b) and 507(a)(2) of the

               Bankruptcy Code as an expense of administration of the Debtors’ estate.

       If you are a holder of an equity interest in the Debtor, you need not file a proof of interest

with respect to the ownership of such equity interest at this time. But, if you asset a claim against

the Debtor, including a claim relating to your equity interest or the purchase or sale of that

interest you must file a proof of claim on or prior to the Bar Date in accordance with the

procedures set forth in this Notice.
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       This Notice is being sent to many persons and entities that have had some relationship

with or have done business with the Debtor but may not have an unpaid claim against the Debtor.

The fact that you have received this Notice does not mean that you have a claim, or that the

Debtor of the Court believes that you have a claim against the Debtor.



4.     EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       If you have a claim arising out of the rejection of an executory contract or unexpired

lease as to which the order authorizing such rejection is dated on or before the date of entry of

the Bar Order, you must file a proof of claim based on such rejection on or before the later of the

Bar Date or the date that is 30 days after the date of the order authorizing such rejection. Any

persons or entity that has a claim arising from the rejection of an executory contract or unexpired

lease, as to which the order is dated after the date of entry of the Bar Order, you must file a proof

of claim with respect to such claim by the date fixed by the Court in the applicable order

authorizing rejection of such contract or lease.



5.     CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE

       BARD DATE

       ANY HOLDER OF A CLAIM THAT IS NOT EXCEPTED FROM THE

       REQUIREMENTS OF THIS ORDER, AS SET FORTH IN SECTION 4 ABOVE, AND

       THAT FAILS TO TIMELY FILE A PROOF OF CLAIM IN THE APPROPIATE

       FORM, WILL BE BARRED FROM ASSERTING ITS CLAIM AGAINST THE

       DEBTOR AND ITS CHAPTER 11 ESTATE, VOTING IN ANY PLAN OF

       REORGANIZATION FILED IN THIS CASE AND PARTICIPATING IN ANY
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         DISTRIBUTION IN THE DEBTOR’S CHAPTER 11 CASE ON ACCOUNT OF THAT

         CLAIM

6.       THE DEBTOR’S SCHEDULES AND ACCESS THERETO

         You may be listed as the holder of a claim against the Debtor in the Debtors’ Schedules.

If you agree with the nature, amount and status of your claim as listed in the Debtors’ Schedules,

[and if you do not dispute that your claim is only against the Debtor specified by the Debtor,]

and if your claim is not described as “disputed,” “contingent,” or “unliquidated,” you do not need

to file a proof of claim. Otherwise, you must file a proof of claim before the Bar Date in

accordance with the procedures set forth in this Notice.

         Copies of the Debtors’ Schedules are available for inspection of the Court’s Internet

Website at http://www/nyeb.uscourts.gov. A login and password to the Court’s Public Access to

Electronic Court Records (“PACER”) are required to access this information and can be

obtained through the PACER Service Center at http://www.pacer.psc.uscourts.gov. Copies of the

Debtors’ Schedules may also be examined between 9:00 a.m. and 4:30 p.m., Monday through

Friday at the Office of the Clerk of the Bankruptcy Court, Conrad B. Duberstein U.S.

Bankruptcy Courthouse, 271 Cadman Plaza East, Brooklyn, New York 11201-1800. Copies of

the Debtors’ Schedules may also be obtained by written request to the Debtor’s counsel at the

address and telephone number set forth below:

         Rosenberg, Musso & Weiner, LLP, 26 Court Street, Suite 2211, Brooklyn, New York

11242.



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       If you are unsure about any of these matters, including whether you should file a

proof of claim, you may wish to consult an attorney.



Dated: Brooklyn, New York                               BY ORDER OF THE COURT


___/s/____________________________
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DEBTORS IN POSSESSION
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